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                          UNITED STATES DISTRICT
                         COURT FOR THE DISTRICT OF
                                COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
         v.                                   : CRIMINAL NO. 21-MJ-00093 (ZMF)
                                              :
LEO CHRISTOPHER KELLY,                        :
     Defendant.                               :


                 CONSENT MOTION TO CONTINUE STATUS HEARING

         The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully files this Consent Motion to Continue the Status

Hearing in the above-captioned matter, currently scheduled for May 10, 2021 until a date after

July 6, 2021. In support thereof, the government states as follows:

   1. On January 18, 2021, the defendant was arrested and charged by Criminal Complaint

         with one count of Obstruction, in violation of Unlawful Entry on Capitol Grounds,

         violation of 18 U.S.C. § 1752(a)(1) and (4). On February 9, 2021, the Honorable Judge

         Meriweather ordered that the defendant remain on release subject to monitoring

         conditions. A preliminary hearing was set for March 8, 2021, the defendant waived

         the hearing. A status hearing was set for April 7, 2021 and continued until may 10,

         2021.

   2. The government and counsel for the defendant have conferred and are continuing to

         communicate in an effort to resolve this matter. The government is also gathering

         discovery to provide to counsel for the defendant.

   3.     The parties, therefore, would respectfully request that the status hearing be continued

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        until a date after July 6, 2021. The parties agree that the interests and ends of justice

        are best served and outweigh the interests of the public and the defendant in a speedy

        trial, and that this adjournment will allow the parties to continue negotiations in an

        effort to achieve a resolution before trial. Therefore, the parties agree that pursuant to

        18 U.S.C. § 3161, the time from May 10, 2021 through the next court date shall be

        excluded in computing the date for speedy trial in this case.



       Wherefore, the parties respectfully request that the Court continue the Preliminary

Hearing in this matter until July 6, 2021, or to a date after that date convenient to the Court’s

calendar.

                                     Respectfully submitted,

                                     CHANNING D. PHILLIPS
                                     ACTING U.S. ATTORNEY
                                     D.C. BAR NO. 415793



                              By:      /s/
                                     Kenya K. Davis
                                     Assistant United States Attorney
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     :
                                              :
         v.                                   : CRIMINAL NO. 21-MJ-00093(ZMF)
                                              :
 LEO CHRISTOPHER KELLY,                       :
          Defendant.                          :



                                            ORDER

        This matter having come before the Court pursuant to a Motion to Continue, upon

consent, it is therefore

        ORDERED that the parties shall appear for a Status Hearing at_______ on July _____,

2021. It is further

        ORDERED that pursuant to the representations made by the parties, the interests and

ends of justice are best served and outweigh the interests of the public and the defendant in a

speedy trial. Pursuant to 18 U.S.C. § 3161, the time from May 10, 2021 through July ____, 2021

shall be excluded in computing the date for speedy trial in this case.




                                              ______________________________________
                                              The Honorable Judge Harvey




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